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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §       CRIMINAL NO: 1:l9e-CR-305-LY
                                                 §
 (2) AMY RACHEL WEBER                            §
                 WAIVER OF RIGHTS AND CONSENT TO SENTENCING
                             BY VIDEO CONFERENCE

       I acknowledge that I have a right to appear before United States District Judge Lee Yeakel

in person when pleading guilty or being sentenced. See United States v. Navarro, 169 F .3d 228,

239 (5th Cir. 1999) (holding that a court may not sentence a defendant by video conference unless

the defendant consents). I further acknowledge that I may waive the right to plead guilty or be

sentenced, in person before Judge Yeakel, under Federal Rule of Criminal Procedure 43(c).

       I have discussed the implications ofwaiving these rights with my attorney, and I understand

the consequences of such a waiver. I am choosing to knowingly, intelligently, and voluntarily

waive my rights to be sentenced in person. I consent to Judge Yeakel accepting my guilty plea

and sentencing me via video conference.

       I am waiving my rights and consenting of my own free will and volition. Nobody,

including my attorney, has coerced or improperly influenced me in my decision to waive my rights

and consent to a guilty plea and sentencing via video conference.

       Signed this   i day of       J U Y'\e,_             , 2020.




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